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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                            CHARLOTTESVILLE DIVISION


  ------------------------------------X
  BABY DOE, A CITIZEN OF AFGHANISTAN     :
  CURRENTLY RESIDING IN NORTH            :               CIVIL ACTION NO. 3:22-CV-49
  CAROLINA, BY AND THROUGH NEXT          :
  FRIENDS, JOHN AND JANE DOE;AND JOHN :
  AND JANE DOE, CITIZENS OF AFGHANISTAN :
  AND LEGAL GUARDIANS OF BABY DOE,       :
                                         :
       Plaintiffs,                       :
                                         :
  v.                                     :
                                         :
  JOSHUA MAST, STEPHANIE MAST, RICHARD :
  MAST, KIMBERLEY MOTLEY, AND AHMAD :
  OSMANI,                                :
                                         :
       Defendants,                    :
                                       :
  and                                  :
                                       :
  UNITED STATES SECRETARY OF STATE    :
  ANTONY BLINKEN AND UNITED STATES :
  SECRETARY OF DEFENSE GENERAL         :
  LLOYD AUSTIN,                       :
                                      :
       Nominal Defendants.            :

  ------------------------------------X


  PLAINTIFFS’ MOTION, AND MEMORANDUM OF LAW IN SUPPORT OF MOTION,
  TO SEAL EXHIBIT 2 TO PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO NON-
  PARTY PIPE HITTER FOUNDATION, INC.’S MOTION TO QUASH SUBPOENA OR
                   FOR ENTRY OF A PROTECTIVE ORDER

        Plaintiffs, by counsel, respectfully move for leave to file under seal Exhibit 2 to their

  Memorandum in Opposition to Non-Party Pipe Hitter Foundation, Inc.’s Motion to Quash
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  Subpoena or for Entry of a Protective Order (“Opposition”), pursuant to Local Civil Rule 9 and

  this Court’s Protective Order (ECF No. 26). In support thereof, Plaintiffs state as follows:

         Exhibit 2 to the Opposition contains information that remains subject to a sealing order

  issued by the Circuit Court of the County of Fluvanna (“Sealed Circuit Court Proceeding”). See

  ECF No. 73, Exh. B. That Order allows the parties in the Sealed Circuit Court Proceeding to file

  in this matter filings, transcripts, documents and discovery from the Sealed Circuit Court

  Proceeding, so long as such documents are filed under seal in this matter. While the circuit court

  in January 2023 verbally ordered that the seal on that proceeding will be lifted, it asked the parties

  to submit proposed redactions to the filings before it will unseal the record. The parties have done

  so, but the circuit court has not yet unsealed the record. Thus, the information appearing in the

  Sur-Reply and Exhibit 2 thereto remain under seal in the circuit court.

         In addition, Exhibit 2 refers to Plaintiffs’ given names. This Court has issued a Protective

  Order (ECF No. 26) allowing Plaintiffs to proceed under pseudonyms, given the concern for their

  safety and that of other innocent non-parties, such as their family members.

         Under the common law right of access to judicial records, documents should be sealed

  when a party’s interest in keeping the information contained therein confidential outweighs the

  presumed right of public access. See, e.g. Stone v. Univ. of Maryland Med. Sys. Corp., 855 F.2d

  178 (4th Cir. 1988); Ashcroft v. Conoco, Inc., 218 F.3d 288, 302 (4th Cir. 2000). “Courts have

  recognized that an interest in protecting the physical and psychological well-being of individuals

  related to the litigation, including family members and particularly minors, may justify restricting

  access” to court documents. United States v. Harris, 890 F.3d 480, 492 (4th Cir. 2018); see also

  United States v. Doe, 962 F.3d 139, 147 (4th Cir. 2020).
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         In this instance, the judge in the Sealed Circuit Court Proceeding ordered that all filings

  made in that proceeding be under seal and that, if they are filed in this matter, they must be filed

  under seal. In addition, the threats to the safety of the Plaintiffs and other innocent non-parties are

  very real, and have been recognized by this Court’s Protective Order (ECF No. 26).

         Plaintiffs have publicly filed their Opposition. Thus, the public is not wholly deprived of

  an understanding of the general underlying factual basis for the request. The relief Plaintiffs seek

  in this motion is narrowly tailored to the circumstances, and aims to seal only what is absolutely

  necessary to safeguard the safety of persons related to the litigation. Defendants are not prejudiced

  as they are aware of Plaintiffs’ identities and are parties to and/or aware of the Sealed Circuit Court

  Proceeding.

         Accordingly, Plaintiffs request that Exhibit 1 to their Opposition be filed under seal, as the

  risks attendant to public disclosure of these documents is not likely to dissipate over time. Plaintiffs

  will promptly advise this Court if the circuit court lifts the seal on any item included in Exhibit 2

  to the Opposition.

         A proposed Order is attached as Exhibit A to this Motion.

  Dated: July 28, 2023                   Respectfully submitted,


                                         /s/ Maya Eckstein
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                                   CERTIFICATE OF SERVICE

          I hereby certify that on the 28th day of July 2023, I electronically filed the foregoing with

  the Clerk of the Court using the CM/ECF system, which will send a notification of such filing to

  all CM/ECF participants.

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